UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS FILED

SAN ANTONIO DIVISION
AUG 9 9 2001
cod U.S. DISTRICT COURT
CARLOS B. COLLIER, § WESTERN DISTRICT OF TEXA
TDCJ/SID ## 761973/472099, § BY SEPOTY CLERK
§
Plaintiff, §
§
Vv. § Civil Action
§ No. SA-01-CA-645-OG
SENIOR WARDEN TIMOTHY KEITH, §
ET AL., §
§
Defendants. §

ORDER

Pursuant to the Prison Litigation Reform Act of 1996 ["PLRA"], 28 U.S.C. § 1915, a prisoner
who brings a civil action in forma pauperis must pay an initial partial filing fee and thereafter pay
the balance of the $150 filing fee through monthly deductions from the prisoner's institutional trust
fund account.

IT IS ORDERED:

Plaintiffs Application for Leave to Proceed In Forma Pauperis (Docket Entry # 1) is
GRANTED and the Clerk shall file Plaintiff's Complaint without prepayment of fees, costs, or
security.

This Court assesses and directs Plaintiff shall pay an initial partial filing fee of $17.67 and the
Texas Department of Criminal Justice Institutional Division (TDCJ) shall deduct this sum from

Plaintiff’s TDCJ institutional trust fund account and forward this sum to this Court (ifno such funds

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are available, TDCJ shall place a hold on the account in this amount and forward the funds when
available).

The balance of the $150 filing fee shall be paid in monthly installments as provided in 28
U.S.C. § 1915(b)(1). TDCI shall each month deduct twenty percent (20%) of the preceding month's
income credited to Plaintiff's inmate trust account and forward payments to the Court provided the
account exceeds $10.00, until the balance is paid.

The Clerk shall mail a copy of this Order to the TDCJ Office of the General Counsel,
P.O. Box 13084, Austin, TX 78711 and TDCJ Local Funds Division, P.O. Box 629, Huntsville,
TX 77342-0629,

DATED: August 4 , 2001

Uptanale Mme,

[| PAMELA A. MATHY I,
United States Magistrate Judge

